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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK

    Brandon Lee, p/k/a “Don Lee,” an individual; and
    Glen Keith DeMeritt III, an individual,                  Case No.: __________________

    Plaintiffs,                                                COMPLAINT FOR:
           v.
                                                               1. DIRECT, CONTRIBUTORY,
    Montero Lamar Hill p/k/a “Lil’ Nas X,” an individual;         AND VICARIOUS
    Belcalis Marlenis Almánzar p/k/a “Cardi B,” an                COPYRIGHT
    individual; David Charles Marshall Biral, p/k/a “Take         INFRINGEMENT; AND
    a Daytrip,” an individual; Denzel Michael-Akil
    Baptiste, p/k/a “Take a Daytrip,” an individual;           2. DECLARATORY RELIEF
    Rosario Peter Lenzo IV, an individual; Klenord
                                                               JURY TRIAL DEMANDED
    Raphael, an individual; Russell James Chell Jr., an
    individual; Alex Facio, an individual; Unxque, an
    individual; Sony Music Entertainment, a New York
    company, individually, and doing business as
    “Columbia Records”; Sony Music Holdings, Inc., a
    New York corporation; Songs of Universal, Inc., a
    Chicago corporation, and DOES 1-10,

    Defendants.



                                JURISDICTION AND VENUE

          1. This action arises under the Copyright Laws of the United States (Title 17, U.S.C.

§101 et seq.) and the statutory and common laws of the State of California.

          2. This court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338 in that this action involves claims arising under the Copyright Laws of the United

States.

          3. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400 in that the

Defendants moved to, inter alia, transfer this action to the Central District of California after

this case was filed in the Southern District of New York, and that motion to transfer was

granted by the Court.

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                                          PARTIES

       4. At all times mentioned herein, Plaintiffs Brand Lee, professionally known as “Don

Lee,” and Glen Demeritt (“Plaintiffs”) were individuals residing in Georgia.

       5. At all times mentioned herein, Sony Music Entertainment and Sony Music

Holdings, Inc. are New York corporations that do business under their own and one another’s

names and also as “Columbia Records” (collectively “Sony”) and have their global

headquarters at 25 Madison Avenue, New York, NY 10010.

       6. At all times mentioned herein, Defendant Montero Lamar Hill p/k/a and hereinafter,

“Lil Nas X,” was an individual doing business in and with New York.

       7. On information and belief, at all times mentioned herein, Defendant Belcalis

Marlenis Almánzar p/k/a and hereinafter “Cardi B” was an individual living in and conducting

business in and with New York.

       8. At all times mentioned herein, Defendants David Charles Marshall Biral and

Denzel Michael-Akil Baptiste individually and jointly p/k/a Take a Daytrip were individuals

conducting business in and with New York.

       9. At all times mentioned herein, Rosario Peter Lenzo IV, Klenord Raphael, Russell

James Chell Jr., Alex Facio, and the artists p/k/a Unxque were individuals conducting business

in and with New York.

       10. Plaintiff is unaware of the true names and capacities of the Defendants sued herein

as Does 1 through 10, inclusive, and for that reason, sues such Defendants under such fictitious

names. Plaintiff is informed and believes and on that basis alleges that such fictitiously named

Defendants are responsible in some manner for the occurrences herein alleged, and that

Plaintiff’s damages as herein alleged were proximately caused by the conduct of said

Defendants. Plaintiff will seek to amend the complaint when the names and capacities of such
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fictitiously named Defendants are ascertained.

       11. As alleged herein, “Defendants” shall mean all named Defendants and all

fictitiously named Defendants.

       12. Plaintiff is informed and believes and on that basis alleges that Defendants at all

times relative to this action, were the agents, servants, partners, joint venturers and employees

of each of the other Defendants and in doing the acts alleged herein were acting with the

knowledge and consent of each of the other Defendants in this action. Alternatively, at all

times mentioned herein, each of the Defendants conspired with each other to commit the

wrongful acts complained of herein. Although not all of the Defendants committed all of the

acts of the conspiracy or were members of the conspiracy at all times during its existence, each

Defendant knowingly performed one or more acts in direct furtherance of the objectives of the

conspiracy. Therefore, each Defendant is liable for the acts of all of the other conspirators.

                                  FACTUAL STATEMENT

       13. Plaintiffs create, record, and produce music and market, license, and sell that music

to other artists and performers in the music industry.

       14. Prior to the infringement complained of herein, Plaintiffs created a recording of an

original music composition entitled “gwenXdonlee4-142” (hereinafter the Work”) Both the

composition and sound recording of the Work were created, and are owned exclusively, by

Plaintiffs. The Work is registered under U.S. Copyright Office numbers PAu 3-976-903 and SR

853-377.

       15. The Work is original and distinctive in that it combines Plaintiffs’ hip-original

content, including drum patterns and bass lines with melodic lines and harmonies in unique and

compelling ways.

       16. Plaintiffs marketed and distributed the Work to numerous participants in and
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beyond the Atlanta music scene. The Work was subsequently incorporated into the song Broad

Day by PuertoReefa and Sakrite Duexe. Before the infringement at issue, this song was

performed, published, and distributed widely, including without limitation in and around the

Atlanta hip-hop scene.

       17. Subsequent to Plaintiffs’ distribution of the Work and/or Broad Day, Defendants,

and each of them, accessed the Work and copied quantitatively and qualitatively distinct,

important, and recognizable portions of the Work.

       18. Defendants, and each of them, included without consent a substantial portion of the

Work in the song that came to be titled Rodeo (hereinafter “Rodeo” or the “Infringing Work”).

       19. Rodeo, performed by Lil Nas X and Cardi B, was included on an EP titled “7” that

was released by Sony through its Columbia affiliate.

       20. The Work and Infringing Work are at least substantially similar and would present

as such to a reasonable listener.

       21. The similarities between the works at issue include but are not limited to the

following: the two works at issue employ a number of substantially similar elements and

material which constitute a constellation of elements creating a substantially similar overall

sound and feel, as set forth in the below, non-inclusive musical analysis:

          a.    Plaintiffs’ Work is built on a four-measure phrase outlining the chord

                progression E, F, G, F, E.

          b.    The rhythm of the chord changes in Plaintiffs’ Work is whole note, whole note,

                half note, half note, whole note.

          c.    Plaintiffs’ Work incorporates an uncommon scale and key in popular music.

          d.    Plaintiffs’ Work is in 4/4 time at a tempo of 142 beats per minute



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 e.   Plaintiffs’ Work utilizes guitar and wind instruments to evoke a certain

      aesthetic that is set against hip-hop elements derived from digital drum and

      bass elements.

 f.   The drum figure employed in Plaintiffs’ Work heavily emphasizes triplet

      figures in the hi-hats.

 g.   The chord progression remains static throughout Plaintiffs’ Work, with

      structural elements dictated by the removal of drums or introduction of

      supplemental melodic lines.

 h.   At regular intervals in Plaintiffs’ Work, the rhythmic guitar part outlining

      chords is replaced with a single note line playing an ascending then descending

      scale moving with the chord changes.

 i.   Rodeo is built on a four-measure phrase outlining the chord progression E, F,

      G, F, E.

 j.   The rhythm of the chord changes in Rodeo is whole note, whole note, half note,

      half note, whole note.

 k.   Rodeo incorporates the same uncommon scale and key in popular music as

      Plaintiffs’ Work.

 l.   Rodeo is in 4/4 time at a tempo of 142 beats per minute.

 m.   Rodeo also utilizes guitar and wind instruments to evoke a certain aesthetic that

      is set against hip-hop elements derived from digital drum and bass elements.

 n.   The drum part employed in Rodeo heavily emphasizes triplet figures in the hi-

      hats.




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            o.   Rodeo’s chord progression remains static throughout the song with structural

                 changes dictated by the removal of drums or the introduction of supplemental

                 melodic instrumental lines or vocals.

            p.   At regular intervals, Rodeo’s rhythmic guitar part is replaced with a single note

                 line playing ascending and descending scales following the chord progression.

       22. These and other similarities are readily apparent and cognizable to both trained and

untrained listeners.

       23. Defendants are marketing, selling, streaming, licensing, performing, broadcasting,

monetizing, and otherwise exploiting the Infringing Work in violation of Plaintiff’s Rights in

the Work.

                     FIRST CLAIM FOR RELIEF
  DIRECT, CONTRIBUTORY, AND VICARIOUS COPYRIGHT INFRINGEMENT
                   (Against all Defendants, and Each)

       24. Plaintiff repeats and re-alleges each of the foregoing paragraphs as though fully set

forth herein.

       25. Plaintiffs are the sole owners of the copyrights to Work. They have registered with

Work with the U.S. Copyright Office, and complied with all formalities in so doing.

       26. Defendants had access to the Work by virtue of the Work’s online publication and

distribution, as well as through the widespread dissemination, particularly in the Atlanta music

industry and scene, of Broad Day, which incorporates the Work.

       27. In addition, the striking similarity between the Work and the Infringing Work are

such that the Infringing Work could not have been created without access to the Work and

access is established on that basis.

       28. Defendants copied the Work in the creation of the Infringing Work.

       29. Defendants, and each of them, engaged in the unauthorized reproduction,
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distribution, public performance, licensing, display, and creation of the Infringing Work. The

foregoing acts infringe Plaintiffs’ rights under the Copyright Act.

        30. On information and belief it is alleged that Defendants, and each of them, made

copies of the Infringing Work and sold, distributed, performed, streamed, broadcasted,

licensed, and/or otherwise exploited the Infringing Work without Plaintiffs’ consent. On

information and belief it is alleged that such exploitation included, without limitation,

Defendants’, and each of their, distribution and broadcast of the Infringing Work on Spotify,

Tidal, Apple Music, Amazon, Pandora and YouTube.

        31. Defendants did not receive permission from Plaintiffs to interpolate, sample, use, or

copy the Work. Yet, Defendants created an unauthorized copy and/or derivative work from

Plaintiffs’ original material.

        32. All of the elements of the Work, and the creative selection of those elements, are

original. Rodeo includes an unauthorized reproduction of a material portion of the Work.

        33. Defendants, and each of them, with knowledge of the infringement at issue, took

material steps to copy and reproduce the Work to create the Infringing Work. In doing so, the

Defendants contributed to one another’s infringement by assisting in the obtainment and

copying of material portions of Plaintiffs’ Work.

        34. Defendants, and each of them, financially benefitted from the infringement at issue

and had the ability to supervise, oversee, and control the infringing conduct that gave rise to

the creation, distribution, and monetization of the Infringing Work.

        35. Defendants’ conduct has at all times been willful, knowing and with disregard to

Plaintiffs’ rights to the Work.

        36. As a proximate cause of Defendants’ wrongful conduct, Plaintiffs have been

irreparably harmed and has suffered actual damages in the form of, inter alia, lost licenses,
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royalties, and profits, lost goodwill, and a diminution in the value of the Work.

        37. Since the release of the Infringing Work, Defendants have infringed the Plaintiff’s

copyright interest by participating and continuing to copy, reproduce, perform, distribute,

manufacture, sell, market, exploit and promote the Infringing Work in the aforementioned acts

and sharing in the proceeds therefrom.

        38. Defendants, and each of them, have received financial and other benefits by way of

the infringement alleged herein, and those benefits, including without limitation, revenues and

profits, both direct and indirect, that have resulted from the licensing, sale, distribution,

performance, streaming, and other exploitation of the Infringing Work and Work. Plaintiffs

seeks to recover damages in the form of those direct and indirect revenues and profits.

        39. Plaintiff holds a copyright registration for the Work that predates the infringement

and thus may seek attorneys fees and statutory damages under 17 USC 504 in an amount to be

set forth at and after trial.

                                  SECOND CLAIM FOR RELIEF
                                  FOR DECLARATORY RELIEF
                                 (Against all Defendants, and Each)

        40. Plaintiffs repeat and re-allege each of the foregoing paragraphs as though fully set

forth herein.

        41. Plaintiffs seek a declaration of rights pursuant to 28 U.S.C. § 2201(a).

        42. Plaintiffs are the authors and copyright claimants for the Work and are are entitled

to no less than fifty percent (50%) of the publishing and other revenues derived from the

Infringing Work. Plaintiff requests a judicial declaration of same.



                                ON THE FIRST CLAIM FOR RELIEF

        43. Pursuant to 17 U.S.C. § 504(b), damages, including the substantial profits of
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Defendants, to be proven at trial or pursuant to 17 U.S.C. § 504, and actual damages, (e.g.,

royalties);

        44. The maximum amount of statutory damages               per 17 U.S.C. § 504 for each

act of willful copyright infringement;

        45. Royalties and other revenues and benefits that accrue from past, present, and future

exploitation of Rodeo; and

        46. A permanent injunction requiring Defendants and their agents, employees, officers,

attorneys, successors, licensees, partners, and assigns, and all persons acting in concert or

participation with each or any one of them, to cease directly and indirectly infringing, and

causing, enabling, facilitating, encouraging, promoting, inducing, and/or participating in the

infringement of any of Plaintiffs’ rights protected by the Copyright Act or in the alternative a

running royalty paid on all exploitations of the Infringing Work commencing from the date of

judgment and for all amounts not taken into consideration in the judgment.

                         ON THE SECOND CLAIM FOR RELIEF:

        47. For a declaration that Plaintiffs are authors of and copyright claimants for and for

the Infringing Work are thus entitled to no less than 50% of the publishing, streaming, and

other revenues derived from the exploitation and monetization of the Infringing Work in any

form.

                               ON ALL CAUSES OF ACTION:

        48. For costs of suit incurred herein;

        49. For attorneys’ fees;

        50. For such other and further relief as the Court deems just and proper.

        51. Pre-judgment and post-judgment interest costs, including reasonable attorneys’ fees

pursuant to 17 U.S.C. § 505; and
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        52. Any and all other appropriate relief, at law or equity, to which Plaintiffs may show

they are entitled.

    Dated: October 4, 2019                                       Respectfully submitted,

                                                           By:   /s/ Scott Alan Burroughs
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                                      DEMAND FOR JURY TRIAL

            Plaintiffs, under Rule 38 of the Federal Rules of Civil Procedure and the Seventh

    Amendment, request a trial by jury of any issues so triable by right.

    Dated: October 4, 2019                                       Respectfully submitted,

                                                           By:   /s/ Scott Alan Burroughs
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